

People ex rel. Goodrich v Warden, Westchester County Jail (2022 NY Slip Op 03364)





People ex rel. Goodrich v Warden, Westchester County Jail


2022 NY Slip Op 03364


Decided on May 24, 2022


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 24, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

BETSY BARROS, J.P.
REINALDO E. RIVERA
CHERYL E. CHAMBERS
DEBORAH A. DOWLING, JJ.


2022-03557

[*1]The People of the State of New York, ex rel. Peter T. Goodrich, on behalf of Tobia Sachetti, petitioner,
vWarden, Westchester County Jail, etc., respondent.


Goodrich &amp; Bendish, Elmsford, NY (Peter T. Goodrich pro se and Mischel &amp; Horn, P.C. [Richard E. Mischel] of counsel), for petitioner.
John M. Nonna, County Attorney, White Plains, NY (Christine M. Feimer of counsel), for respondent.
Miriam E. Rocah, District Attorney, White Plains, NY (Shea Scanlon Lomma and Steven A. Bender of counsel), nonparty pro se.



DECISION &amp; JUDGMENT
Writ of habeas corpus in the nature of an application to release Tobia Sachetti upon his own recognizance or, in the alternative, to set reasonable bail upon Westchester County Indictment No. 70666/2022.
ADJUDGED that the writ is dismissed, without costs or disbursements.
The determination of the Supreme Court, Westchester County, did not violate "constitutional or statutory standards" (People ex rel. Klein v Krueger , 25 NY2d 497, 499; see People ex rel. Rosenthal v Wolfson , 48 NY2d 230).
BARROS, J.P., RIVERA, CHAMBERS and DOWLING, JJ., concur.
ENTER:
Maria T. Fasulo
Clerk of the Court








